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                 EXHIBIT 35
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      Lauburu88                                                #   IPs   Messages   Posts   Comments


      User ID: 13256
      Username(s): Lauburu88
      Ideology: NS
      Gender: Male
      Email(s): duhizzlemanizzle@gmail.com
      Location: Southern California
      Time Zone: America/New_York
      Joined: Sun, 24 Jul 2016 20:16:16 GMT
      Last Login: Fri, 03 Feb 2017 16:27:14 GMT
      Password: $2a$13$My7BGNmZ5ASJmJVQTsW8ueA…
      Password Salt: My7BGNmZ5ASJmJVQTsW8up




            Known IP Addresses

        72.197.7.239

        Cox Communications


        Oceanside, CA, US




            Messages

        From: Lauburu88
        Mon, 06 Feb 2017 07:40:56 GMT




        Just add me. UncleBob#6190                                                            More »

        From: Lauburu88
        Mon, 06 Feb 2017 07:24:50 GMT



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           Iron
        Your      March
             discord doesn'tExposed
                            work                                                                         More »

        From: Lauburu88
        Fri, 03 Feb 2017 08:19:37 GMT




        Don't worry brother. We are bound together like the mighty fasces.                               More »

        From: Lauburu88
        Tue, 31 Jan 2017 20:34:34 GMT




        Thank you very much for the information. We shall reorganize properly according to this.         More »


        From: Lauburu88
        Tue, 17 Jan 2017 22:53:32 GMT




        Alright. Thank you. I appreciate the cooperation.                                                More »


        From: Lauburu88
        Tue, 17 Jan 2017 22:45:19 GMT




        Because the option to dm you is not present on your twitter page.                                More »


        From: Lauburu88
        Tue, 17 Jan 2017 21:11:18 GMT




        Odin, I regret to inform you that I still have not received any sort of response from you via twitter. If
        you could, please email me directly at Americanvanguardindiana@tutamail.com I would enjoy
        discussing whatever affairs you previously wanted to t…                                          More »


        From: Lauburu88
        Mon, 01 Aug 2016 04:25:34 GMT




        Free.                                                                                            More »

        From: Lauburu88
        Mon, 01 Aug 2016 04:25:24 GMT



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            Iron
        I'd do it forMarch     Exposed
                     me if I could just watch them get dumped back over the wall and watch them all take
        that 40 foot spill back to old Mexico.                                                        More »

        From: Lauburu88
        Mon, 01 Aug 2016 00:36:47 GMT




        I'm 28. I've been pretty radical since highschool. Our town was basically half white and half spic.
        And I'll tell you, I've never met a more despicable and vile group of scum than mexicans. I hate
        them and I will go down to the border and start laying fuc…                                    More »



                                                    More messages




            Posts

        Lauburu88
        Mon, 06 Feb 2017 09:26:52 GMT




        Okay, we'll then, I'll see you boys in the funny papers.                                         More »


        Lauburu88
        Mon, 06 Feb 2017 09:13:00 GMT




        Well, our goals may be the same, I just feel that this kind of massive cultural shift takes a little bit
        longer and needs a little bit more finite texturing. Oh, how I would love to live in an only white world
        where the entire earth is dedicated to the si…                                                     More »


        Lauburu88
        Mon, 06 Feb 2017 08:37:19 GMT




        Well, I suppose your view of national socialism is slightly different from mine.                 More »


        Lauburu88

        Mon, 06 Feb 2017 08:30:15 GMT

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        Well, I didn't really say anyou of that, but okay. Oh, no, of course I don't.                   More »


        Lauburu88
        Mon, 06 Feb 2017 08:28:38 GMT




        Well, as The Dude would say, "Yeah, well, that's just like...your opinion, man." If it gets our group a
        few good recruits whom we can bring into the fold and help us reclaim this land then I'll take the
        licks from you and your forum. So be it.                                                          More »


        Lauburu88
        Mon, 06 Feb 2017 08:23:14 GMT




        No. Not in the least. Like I said, I'm not going onto a nationally broadcast radio show and pull out
        the full 1488. I'm not fucking stupid. This kind of shit needs subtleties. Jesus, boys. You're really
        taking the piss.                                                                                 More »


        Lauburu88
        Mon, 06 Feb 2017 08:05:27 GMT




        I personally don't care. It was our first radio broadcast on a mildly conservative radio talk show. I
        wasn't going to disrespect the host and start going full fucking gas the kikes race war now on live
        air. Sorry boys.                                                                                 More »


        Lauburu88
        Mon, 06 Feb 2017 07:58:16 GMT




        To defeat your enemy, you must become your enemy. Personally, I believe I did, but obviously you
        disagree.                                                                                  More »

        Lauburu88
        Mon, 06 Feb 2017 07:56:05 GMT




        It's all about tact, nuance and finesse.                                                        More »

        Lauburu88
        Mon, 06 Feb 2017 07:35:21 GMT



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           Iron
        Yeah,       March
                let me just getExposed
                               invited onto someone's radio talk show and disagree with them constantly,
        insult them, insult their views and opinions and ramble on without gaining any traction with the
        possible 80,000 people listening to the show. Let me just ramb…                                More »



                                                             More posts




            Notes & Comments
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